                          Case 1:17-cv-02122-TSC
ORR reply brief - artspitzer@gmail.com - Gmail     Document 14https://mail.google.com/mail/u/0/?shva=1#inbox/15f2d382cadb...
                                                                  Filed 10/18/17 Page 1 of 1




            Gmail

                COMPOSE                ORR reply brief                 Inbox   x

            Inbox (11,859)
                                           Brigitte Amiri Thank you everyone for their thoughts, contributions…         10:02 PM (11
            Important
            Sent Mail                                                              9 older messages
            Drafts (15)
            Spam                           Brigitte Amiri Thanks all. I appreciate the late night work. I have accepted …
            [Gmail]Drafts
            [Gmail]Trash                   Meagan Burrows                                                 9:32 AM (8 minutes ago)
            [Imap]/Drafts                  to Scott, aspitzer, me, mwroe, Jennifer, jchou, Daniel, Brigitte, MGoodman
            520 Colonial Ave…
                                           Art,
            2720 (9)
                                           	
            ACLU biz (2)
                 Arthur
                                           A&ached	please	ﬁnd	both	a	word	and	pdf	copy	of	the	reply	brief	–	ready	for	ﬁling.	Let	
                                           you	have	any	ques?ons	or	run	into	any	issues.	Thanks!
                                           	
                Ben B
                                           Meagan
                                           	
                ElisabethK Boas
                                           From: Brigitte Amiri
                Felicia Smith              Sent: Wednesday, October 18, 2017 7:49 AM
                                           To: Melissa Goodman
                Heather Weaver             Cc: Art Spitzer (aspitzer@acludc.org); Arthur Spitzer (artspitzer@gmail.com
                                           Jennifer Dalven; Jennifer Chou (jchou@aclunc.org); Daniel Mach; Meagan Burrows
                                           Subject: Re: ORR reply brief




1 of 1                                                                                                        10/18/17, 9:42 AM
